      Case 4:19-cv-07123-PJH Document 42 Filed 03/30/20 Page 1 of 10




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 7
                                UNITED STATES DISTRICT COURT
 8
                               NORTHERN DISTRICT OF CALIFORNIA
 9
                                      OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,    Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                              REPLY OF DEFENDANTS NSO GROUP
                                               TECHNOLOGIES LIMITED
13               Plaintiffs,                   AND Q CYBER TECHNOLOGIES
                                               LIMITED IN SUPPORT OF MOTION
14         v.                                  FOR SANCTIONS [DKT. NO. 28]
15   NSO GROUP TECHNOLOGIES LIMITED            Judge: Hon. Phyllis J. Hamilton
     and Q CYBER TECHNOLOGIES LIMITED,         Ctrm: 3
16
                 Defendants.                   Action Filed: 10/29/2019
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      REPLY IN SUPPORT OF MOTION FOR                                Case No. 4:19-cv-07123-PJH
      SANCTIONS
          Case 4:19-cv-07123-PJH Document 42 Filed 03/30/20 Page 2 of 10




 1   I.       INTRODUCTION

 2            Parties involved in ex parte litigation bear a special duty of candor to the court, precisely

 3   because the opposing party is not present to correct the factual record. A moving party must not

 4   take unfair advantage of an opponent’s absence by procuring judicial action based on false

 5   representations, or by failing to correct false representations promptly upon learning about them.

 6   Plaintiffs Facebook and WhatsApp (“Plaintiffs” or “Facebook”) and their counsel failed to comply

 7   with that duty and admit that their representations to the Court were, in fact, false.

 8            First, Facebook misrepresented to this Court that service was complete under the Hague

 9   Convention, although (1) Defendants’ counsel had repeatedly told Facebook’s counsel that

10   Defendants would not appear because service was not complete; (2) attorneys with at least three

11   of Facebook’s law firms working on both this matter and a closely related case knew that Israel’s

12   Central Authority, the Israeli Office of Administration of Courts, had not provided a Certificate of

13   Service; and (3) Facebook and two of its law firms had received official written notice from the

14   Administration of Courts that its attempt at service was deficient.1 Facebook acknowledges that

15   it misrepresented that Defendants had been served under the Hague Convention in its application

16   for default. (Plaintiffs’ Opposition to Defendants’ Application to Set Aside Default [Dkt. No. 29]

17   at 3:24-4:17 (expressing “regret [for] the oversight and inconvenience it has caused the Court . . .

18   .”); Opposition to Motion for Sanctions [Dkt. No. 39] at 4:11-8:7) (attributing the misstatement to

19   “an administrative oversight”); Id. at 9:15-18 (stating that if Defendants had waited longer before

20   applying for relief from default, “Plaintiffs could have corrected their confusion and prevented

21   unnecessary motion practice before the Court.”) (emphasis added).)

22            Second, after Facebook’s counsel handling this case independently confirmed that

23   Facebook had actual knowledge the Office of Administration of Courts had in fact determined its

24   service application was deficient, Facebook failed to bring its misrepresentation to the Court’s

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     Facebook’s submission appears to assert that its counsel in this case, Cooley LLP, knew at all
27 relevant  times that there was no Certificate of Service but did not have actual knowledge that
   Israel’s Administration of Courts determined that its Hague Convention application was deficient
28 until March 3, 2020.
          REPLY IN SUPPORT OF MOTION                    1                        Case No. 4:19-cv-07123-PJH
          FOR SANCTIONS
         Case 4:19-cv-07123-PJH Document 42 Filed 03/30/20 Page 3 of 10




 1   attention. Instead, Facebook waited until NSO acquiesced and entered a notice of appearance to

 2   contest the default. Only then did Facebook admit that it misled the Court and wrongly procured

 3 the default notice.

 4           Plaintiffs’ misrepresentation to this Court2 and refusal to correct the record resulted in a

 5   multiplication of the proceedings. It caused the Court to enter an unwarranted default on March

 6   2, 2020, and forced Defendants to move to set aside the default on March 6, 2020.

 7           Facebook goes to great lengths in its Opposition to persuade the Court that its counsel in

 8   this case did not know its representation was false on February 27, 2020. Facebook admits that all

 9   of its lawyers knew about the misrepresentation by March 3, however, and Facebook does not

10   explain its failure to correct the record on March 4, 5, or 6, when its ethical obligations and duty

11   of candor required it to do so.

12           Even if the Court were to credit Facebook’s evidence and argument completely, it should

13   impose sanctions for Facebook’s refusal promptly to notify the Court that it had properly failed to

14   serve Defendants, and that its default motion therefore was misleading. The Court should impose

15   sanctions in the amount of $16,994.25 payable to Defendants, as well as any other sanction the

16   Court deems appropriate.

17   II.     FACTUAL CHRONOLOGY

18           The following brief chronology may be helpful to the Court. These facts do not appear to

19   be in dispute, and all come from pleadings previously filed by the parties.

20           October-November 2019:        Facebook sent materials, not including a summons, to

21   Defendants and certain persons affiliated with Defendants. [Plaintiffs’ Opposition to Set Aside

22   Default, Dkt. No. 29 at 6:24-8:24.]

23           December 17, 2019:        Facebook attempted to serve Defendants under the Hague

24   Convention. [Plaintiffs’ Opposition to Motion for Sanctions, Dkt. No. 39:19-21]. This service

25   attempt was made pursuant to an incomplete Hague application that Israel “reject[ed] for

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     Facebook’s misrepresentations were made to Magistrate Judge Corley. The case was reassigned
28 to Chief Judge Hamilton on March 20, 2020. [Dkt. No. 36.]
         REPLY IN SUPPORT OF MOTION                   2                        Case No. 4:19-cv-07123-PJH
         FOR SANCTIONS
         Case 4:19-cv-07123-PJH Document 42 Filed 03/30/20 Page 4 of 10




 1   deficiency of form.”     [Exhibit 1 to Declaration of Joseph N. Akrotirianakis in Support of

 2   Application to Set Aside Default (“Akro. Decl.”), Dkt. No. 24-2; Declaration of Aaron Lukken in

 3   Support of Plaintiffs’ Opposition to Defendants’ Application to Set Aside Default (“Lukken

 4   Decl.”) ¶ 11, Dkt. No. 29-5.]

 5           February 4 to 20, 2020: Defendants’ counsel repeatedly notified Facebook’s counsel that

 6   Defendants had not appeared in court because service was not complete. Defendants’ counsel

 7   provided Facebook’s counsel with case law explaining that default cannot properly be entered in

 8 the absence of a certificate of service and that the Hague Convention certificate of service is a

 9 substantive component of service without which service is not complete.3 Facebook’s counsel

10   provided no contrary authority to Defendants. Instead, in three telephone conferences between

11   Facebook’s counsel and Defendants’ counsel and two email exchanges between counsel,

12   Facebook’s counsel sought to pressure Defendants to enter an appearance in the case and refused

13   Defendants’ offer to waive service—and eliminate the need for judicial intervention—in return for

14   a negotiated briefing schedule. [Akro Decl. ¶¶ 10-11 and Exhs. 4-5, Dkt. Nos. 24-1 and 24-2.]

15           February 25, 2020: Israel’s Central Authority issued an Article 4 Certificate (i.e. a notice

16   of deficiency) under the Hague Convention and notified Facebook’s Israeli counsel about

17   deficiencies in Facebook’s service application. [Akro Decl. Exh. 1, Dkt. No. 24-2; Declaration of

18   Yael Riemer in Support of Plaintiffs’ Opposition to Defendants’ Motion for Sanctions (“Riemer

19   Decl.”) ¶ 6; Dkt. No. 39-2.]

20           February 25, 2020: Facebook’s Israeli counsel translated the Article 4 Certificate and letter

21   from Israel’s Central Authority and sent them by email to three separate attorneys at White & Case,

22   a law firm representing Facebook in related litigation that previously had expressly inquired about

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     3
24     Courts normally do not enter default without a certificate of service under the Hague Convention
     because the foreign state may determine that service was defective, as happened in this case, or
25   may exercise its sovereign discretion to refuse service under Article 13 of the Hague Convention,
     even if the documentation is correct. This Court held that the service date runs from the time when
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     Facebook made its second, successful attempt at Hague Convention service on March 12, 2020,
27   rather than the date the Administration of Courts issued a certificate of service. Some courts take
     that approach to computing time when service is ultimately shown to be successful, although
28   obviously a defendant’s response clock does not start if service is deficient.
         REPLY IN SUPPORT OF MOTION                    3                        Case No. 4:19-cv-07123-PJH
         FOR SANCTIONS
      Case 4:19-cv-07123-PJH Document 42 Filed 03/30/20 Page 5 of 10




 1   service on Facebook’s behalf. [Riemer Decl. ¶ 6, Dkt. No. 39-2; Declaration of Julian Lamm in

 2   Support of Plaintiffs’ Opposition to Defendants’ Motion for Sanctions (“Lamm Decl.”) ¶¶ 5-6,

 3   Dkt. No. 39-1.] Each of these three attorneys “inadvertently overlooked” that email message.

 4   [Lamm Decl. ¶ 6.]

 5          February 27, 2020: Facebook applied to this Court for default, falsely representing that

 6   Defendants were “served under the Hague Convention.” [Dkt. No. 20 at 2:19.]

 7          March 2, 2020: This Court entered a default order. [Dkt. No. 22.]

 8          March 3-6, 2020: Multiple news outlets published reports that Facebook won its case

 9   against NSO by obtaining a default judgment.

10          March 3, 2020: The Israeli Administration of Courts informed Defendants’ counsel that

11   “[t]he Hague application in this case is incomplete” and pointed out that it had previously notified

12   Facebook’s counsel. [Akro. Decl. ¶ 6 and Exh. 1, Dkt. Nos. 24-1 and 24-2.]

13          March 3, 2020: Defendants’ counsel sent a letter asking Facebook’s counsel to “correct

14   the factual record and inform the Court that the Israeli Administration of Courts provided an

15   Article 4 Notice on February 25, 2020, and accordingly, service under the Hague Convention has

16   not yet been completed.” [Akro. Decl. ¶ 7 and Exh. 2, Dkt. Nos. 24-1 and 24-2.]

17          March 4, 2020: A Hague Convention expert hired by Facebook independently learned

18   from the Israel Administration of Courts that Facebook’s Hague Convention application was

19   “reject[ed] for deficiency of form,” in an email message sent at 3:31 a.m., to which he responded

20   at 5:19 a.m. [Lukken Decl. ¶¶ 4, 11 and Exh. 2, Dkt. Nos. 29-5 and 29-7.]

21          March 4, 2020: Counsel for Facebook responded to the March 3, 2020 letter from

22   Defendants’ counsel with an email that stated, in its entirety: “We have received your

23   correspondence. We are reviewing your assertions and will address them if appropriate.” [Akro.

24   Decl. Exh. 3, Dkt. No. 24-2.]

25          March 5-6, 2020: Defendants prepared their application to set aside the default, the fees

26   associated with which were at least $16,994.25. [Declaration of Aaron Craig in Support of

27   Defendants’ Motion for Sanctions [“Craig Decl.” ¶¶ 3-6, Dkt. No. 28-1.]

28          March 6, 2020: After waiting until the end of the business day to see whether Facebook
       REPLY IN SUPPORT OF MOTION                     4                        Case No. 4:19-cv-07123-PJH
       FOR SANCTIONS
      Case 4:19-cv-07123-PJH Document 42 Filed 03/30/20 Page 6 of 10




 1   would correct the record by moving to set aside the default order that it procured through

 2 misrepresentations, Defendants filed an application to set aside the default. [Dkt. No. 24.]

 3 III.     ARGUMENT

 4          A.      Plaintiffs’ Refusal to Correct their Misstatement Multiplied the Proceedings

 5          Sanctions may be imposed under 28 U.S.C. § 1927 for either bad faith or recklessness.

 6   Lahiri v. Universal Music and Video Distrib. Corp., 606 F.3d 1216, 1219 (9th Cir. 2010). Attorney

 7   misstatements to the court and failure to correct those misstatements are sanctionable under section

 8 1927 if they result in a multiplication of the proceedings. Id. at 1220-1221. Apart from the statute,

 9 the Court possesses inherent power to impose sanctions. Chambers v. NASCO, Inc., 501 U.S. 32,

10 43, 111 S. Ct. 2123, 2132 (1991).

11          Facebook’s refusal to correct its misstatement to the Court after confirming the true facts

12 warrants sanctions under both section 1927 and the Court’s inherent authority, even if the Court

13 excuses Facebook’s failure to communicate that two of its law firms had received actual notice of

14 the service deficiency on February 25, 2020. In Facebook’s eleven-page Opposition, it does not

15 explain its failure to tell the Court the truth at any time between March 4 and March 6, which

16 would have caused the Court to vacate the default without requiring Defendants to prepare and file

17 an application. This constitutes bad faith and willful misconduct that multiplied the proceedings.

18          Facebook offers no cogent explanation for its refusal promptly to tell the Court about its

19 misrepresentation after Defendants’ counsel explicitly asked Facebook’s counsel to do so. (Akro.

20 Decl. ¶ 7 and Exh. 2 [Dkt. Nos. 24-1 and 24-2].) Defendants’ March 3, 2020, letter provided clear

21 notice of the misrepresentation. And three full days provided more than sufficient time to

22 investigate the service issues, particularly where there was only one relevant fact—the Israel

23 Administration of Court’s notice of deficiencies in Facebook’s Hague Convention application.

24 After Defendants informed counsel for Facebook about this fact on March 3, Plaintiffs’ agent

25 independently confirmed it early in the morning on March 4. Facebook could have filed a Notice

26 of Supplemental Facts on March 4 or March 5 or March 6. But despite being asked by Defendants

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       REPLY IN SUPPORT OF MOTION                     5                        Case No. 4:19-cv-07123-PJH
       FOR SANCTIONS
         Case 4:19-cv-07123-PJH Document 42 Filed 03/30/20 Page 7 of 10




 1   to correct the record, Facebook chose to remain silent.4 That tactical choice directly multiplied

 2   the proceedings, requiring Defendants to appear and move to set aside the default notice.

 3           Only proper service of a summons triggers an obligation to appear. Facebook devotes

 4   many pages to arguments about Defendants’ knowledge that a lawsuit had been filed, but this is

 5   irrelevant because Defendants had no obligation to appear until they were properly served.

 6   Facebook also criticizes the Israeli Administration of Courts for finding Facebook’s Hague

 7   Convention application deficient, but whether or not any party agrees with the Administration of

 8   Courts is immaterial; the judiciary is the final authority.

 9           Defendants had a legal right not to appear unless and until service was completed, period,

10   and service was not completed when Facebook applied for default. Facebook and its counsel may

11   have been reluctant to give up their wrongfully-procured default because it generated favorable

12   publicity for Facebook and unfavorable publicity for Defendants, or because it provided

13   unwarranted leverage to pressure Defendants to forego their legal right to insist on proper service,

14   but those motivations lawfully could not supersede Facebook’s duty to correct the record.

15           Even if the Court were to find Facebook’s conduct to be merely reckless and not willful,

16   such recklessness is sanctionable because it was combined with an illegitimate objective—to

17   coerce Defendants to appear in the case immediately despite Facebook’s failure to complete

18   service.

19           Facebook was so devoted to its strategy to compel Defendants to appear in the case without

20   completing service that Facebook refused even a collegial request to discuss scheduling matters—

21   in an effort to resolve the service issue without involving the Court—before Defendants’ counsel

22   entered an appearance. (Akro. Decl. ¶¶ 10-11 and Exhs. 4-5 [Dkt. Nos. 24-1 and 24-2].)

23   Facebook’s misrepresentation advanced its strategic goal and garnered it a cycle of favorable

24   publicity at NSO’s expense, and Facebook should pay a penalty for it.

25           If Facebook had told the truth and corrected its own misrepresentation, this Court would

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       When Plaintiffs subsequently learned that Israel’s Administration of Courts had issued a new
28   certificate confirming service, in contrast, they immediately informed the Court. [Dkt. No. 33.]
         REPLY IN SUPPORT OF MOTION                     6                      Case No. 4:19-cv-07123-PJH
         FOR SANCTIONS
         Case 4:19-cv-07123-PJH Document 42 Filed 03/30/20 Page 8 of 10




 1   have vacated the default and Facebook’s strategy to compel Defendants to appear in the case

 2   without completing service would have failed. That would have constituted a double defeat for

 3   Facebook: requiring it both to admit service was incomplete and to concede that it had wrongfully

 4   procured a default finding that was publicized to Facebook’s advantage.

 5           In the absence of any other plausible explanation, Facebook’s refusal to inform the Court,

 6   on March 4, 5, and 6, that Israel had, “reject[ed]” Facebook’s Hague Convention application for

 7   “deficiency of form” (Lukken Decl. ¶ 11), must be viewed as a tactical maneuver in furtherance

 8   of an improper litigation strategy.

 9           Facebook’s refusal to correct its prior misstatement and notify the Court that the Israeli

10   Administration of Courts issued a notice of deficiency in response to its Hague Convention

11   application was in bad faith, or alternatively, was reckless with an improper purpose, and is

12   therefore sanctionable under section 1927 and the Court’s inherent authority.

13           B.     Facebook’s Opposition Understates the Significance of its Misrepresentation

14           Facebook’s Opposition begins with a factual assertion that elides a critical detail:

15   “Plaintiffs’ counsel accurately informed the Court of their efforts at serving Defendants . . . .”

16   (Opp. at 1:3-5). In its application for default, however, Facebook did not tell the Court merely that

17   it had made efforts at serving Defendants. Rather, it wrongly represented that Defendants were

18   “served under the Hague Convention.” [Dkt. No. 20 at 2:19.]5

19           Facebook made this claim despite having been told repeatedly that Defendants had not

20   been served under the Hague Convention, first by Defendants’ attorneys throughout February

21   (Akro. Decl. ¶¶ 10-11 and Exhs. 4-5 [Dkt. Nos. 24-1 and 24-2]) and subsequently by the

22   communication from the Israeli Central Authority to two of Facebook’s law firms on February 25,

23   2020. The Court entered default based on this misrepresentation; default would not have been

24   entered if Facebook had informed the Court that Facebook’s efforts were unsuccessful.

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     In its application for default, Facebook acknowledged in a footnote that Israel had not yet issued
27 the Certificate of Service, admitting that “the delay in the issuance of the certificate in this matter
   is unusual,” but omitting that its attorneys had inquired about the absence of the certificate and
28 received notice that Facebook’s application was deficient. [Dkt. 20 at 2 n.1.]
         REPLY IN SUPPORT OF MOTION                    7                        Case No. 4:19-cv-07123-PJH
         FOR SANCTIONS
      Case 4:19-cv-07123-PJH Document 42 Filed 03/30/20 Page 9 of 10




 1            C.     Facebook Had Actual Knowledge of Its Misrepresentation

 2            A law firm associate representing Facebook in a very closely related matter—litigation

 3   brought against Facebook by NSO employees, in which Facebook evidently is seeking to use the

 4   very existence of this lawsuit as a lis alibi pendens defense—admits that on Facebook’s behalf,

 5   he asked Facebook’s Israeli counsel to “contact the Central Authority in Israel to inquire about

 6   the status of Facebook and Whatsapp’s application for service under the Hague Convention in

 7   the U.S. litigation” on January 28, 2020. [Dkt. 39-1 at 2.] Facebook’s Israeli counsel did indeed

 8   contact the Central Authority on January 29, 2020, then followed up with repeated telephone

 9   calls and emails until the Central Authority responded on February 25, with the message

10   providing actual notice not only that the Certificate had not been issued—Facebook already

11   knew that—but also that Facebook’s application was deficient. The Israeli attorney immediately

12   notified the law firm associate and two other attorneys at Facebook’s other law firm. [Dkt. 39-2

13   at 2.]

14            Facebook admits that it and its counsel in this case were aware that no Certificate of

15   Service had been issued. [Dkt. 20 at 2 n.1.] It overlooks the compelling fact that Facebook’s

16   American attorney in the related case and its Israeli counsel were urgently inquiring about the

17   status of Hague Service application. Why were they inquiring? They were inquiring because

18   Facebook knew that a deficiency in service would relieve NSO of any duty to appear in the

19   litigation and preclude Facebook from obtaining a default order.

20            Given these undisputed facts, the Court must find that Facebook had actual knowledge of

21   its misrepresentation on February 27 that service was complete, and that both Facebook and

22   counsel in this case had actual knowledge on March 3 of their duty to correct the record and

23   move to vacate the default that they obtained under false pretenses.

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          REPLY IN SUPPORT OF MOTION                   8                        Case No. 4:19-cv-07123-PJH
          FOR SANCTIONS
     Case 4:19-cv-07123-PJH Document 42 Filed 03/30/20 Page 10 of 10




 1   IV.    CONCLUSION

 2          For the foregoing reasons, Defendants ask the Court to grant the Motion for Sanctions and

 3   order Facebook and their counsel to pay $16,994.25 to Defendants and any other form of sanction

 4   the Court deems appropriate.

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 6   Dated: March 30, 2020                       KING & SPALDING LLP

 7                                               By:    /s/Joseph N. Akrotirianakis
                                                        JOSEPH N. AKROTIRIANAKIS
 8                                                      AARON S. CRAIG
 9                                                      Attorneys for Defendants NSO GROUP
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10                                                      CYBER TECHNOLOGIES LIMITED

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       REPLY IN SUPPORT OF MOTION                   9                       Case No. 4:19-cv-07123-PJH
       FOR SANCTIONS
